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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )            MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant's motion

under 18 U.S.C. § 3582(c)(2) to modify the terms of sentence

(Filing No. 1023).      This motion was filed on October 6, 2005.

           The defendant Christopher Scott was convicted on

February 17, 1993.      His direct appeal was denied by the Eighth

Circuit Court of Appeals on July 11, 1994.             Subsequently

defendant filed a motion under 28 U.S.C. § 2255 which was denied

on January 21, 1998.

           Section 3582(c)(2) allows a court to modify a term of

imprisonment which has been imposed when the defendant was

sentenced to a term of imprisonment based on a sentencing range

that has since been lowered by the sentencing commission pursuant

to 28 U.S.C. § 944(o).      Under these circumstances a court is not

required to reduce a sentence but may do so.

           Here the defendant has failed to produce evidence, and

the Court on its own volition has failed to find that defendant’s
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sentence was based on a sentencing range that has subsequently

been lowered.    Thus, this motion will be denied.

           The Court notes that defendant also urges the Court to

find that the United States Supreme Court’s decision in United

States v. Booker, 543 U.S. 220 (2005), which made sentencing

guidelines advisory rather than mandatory, is equivalent to a

lowering of the sentencing guidelines by the sentencing

commission.    The Eleventh Circuit Court of Appeals has stated,

“Booker is a Supreme Court decision, not a retroactively

applicable guideline amendment by the Sentencing Commission.

Therefore, Booker is inapplicable to § 3582(c)(2) motions.”

United States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005).

Furthermore, the Eighth Circuit Court of Appeals has concluded

that Booker does not apply to cases on collateral appeal.                 See

Never Misses A Shot v. United States, 413 F.3d 781, 783-84 (8th

Cir. 2005)(per curiam).      Thus, the issue which defendant seeks to

raise in this motion is without merit.             A separate order will be

entered in accordance with this memorandum opinion.

           DATED this 23rd day of December, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court




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